                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF IOWA

In Re:
                                             Chapter 13
Michael C. Biondi and Angela A. Cory-        Bankruptcy No. 15-01745
Biondi,
                                             MOTION TO MODIFY
Debtors.                                     PLAN POST-CONFIRMATION




         COME NOW the above-named Debtors and for their Motion to Modify Plan Post-

Confirmation states as follows:

   1. The confirmed plan currently on file calls for the Debtor to make payments as

         follows:

            a. $792.00 each month for the remainder of the plan.

   2. The confirmed plan currently on file calls for the Debtors to turn over to the

         Trustee for administration any realized tax refunds during the term of the chapter

         13 plan.

   3. The Debtors propose modifying the current chapter 13 plan payment to $850

         each month for the remainder of the plan.

   4. Instead of turning over their 2015 tax refunds to the Trustee, the Debtors used

         their tax refunds to purchase a car for family use.

   5. The Debtors proposes modifying the current chapter 13 plan to permit the

         Debtors to retain their tax refunds for tax year 2015.

   6. Unsecured creditors will receive 100 cents on the dollar.

   7. All other provisions of the Plan shall remain as confirmed and not be modified.
      WHEREFORE, the Debtors pray the Court approve her proposed Modified

Chapter 13 Plan

                                       MARKS LAW FIRM, P.C.


                                       /s/ Samuel Z. Marks______
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                                       ATTORNEY FOR DEBTORS
                               CERTIFICATE OF SERVICE
I hereby certify that on November 11, 2016, a copy of Motion to Modify Plan Post-
Confirmation was served electronically or by regular United States mail to all interested
parties, the Trustee and all creditors listed below.

Barclays Bank Delaware
Bill Me Later
Capital One Bank Usa N
Capital One Bank Usa N
Citizens Community Cu
Comenity Bank/Maurices
Dci Credit Services
Dept Of Education/Neln
Dept Of Education/Neln
Dept Of Education/Neln
Dept Of Education/Neln
Des Moines Orthopaedic Surgeons, P.C.
Discover Fin Svcs Llc
General Service Bureau
Hauge Assoc
Hauge Assoc
Internal Revenue Service
Joe Cardis, LLC
Maurice's
Nelnet
Seterus
Syncb/Care Credit
Transworld Systems
Unity Point Clinic
Unity Point Clinic




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